     Case 1:13-cr-00077-LJO-BAM Document 152 Filed 06/03/15 Page 1 of 2
 1
     ANTHONY P. CAPOZZI, CSBN: 068525
 2   LAW OFFICES OF ANTHONY P. CAPOZZI
     1233 W. SHAW AVE., SUITE 102
 3   FRESNO, CALIFORNIA 93711
     PHONE: (559) 221-0200
     FAX: (559) 221-7997
 4   EMAIL: Anthony@capozzilawoffices.com
     www.capozzilawoffices.com
 5

 6   ATTORNEY FOR Defendant,
     ROBERT MURGUIA MARTINEZ
 7

 8
                                  UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10
                                                ******
11   UNITED STATES OF AMERICA,                          Case No.: 1:13-CR-00077-001 LJO
12
                    Plaintiff,                          STIPULATION AND ORDER TO
13                                                      CONTINUE SENTENCING
            v.
14                                                      Date: June 15, 2015
     ROBERT MURGUIA MARTINEZ,
15                                                      Time: 8:30 a.m.
                    Defendant.                          Courtroom: 4
16                                                      Hon. Lawrence J. O’Neill

17          Defendant, ROBERT MURGUIA MARTINEZ, by and through his attorney of record,
18   Anthony P. Capozzi and the United States Attorney by and through Kimberly A. Sanchez,
19   hereby stipulate as follows:
20          1. By previous order, this matter was set for sentencing on June 15, 2015, at 8:30 a.m.
21          2. The parties agree and stipulate that Defendant requests this court to continue the
22   sentencing until September 14, 2015, at 8:30 a.m.
23          3. Additionally, the parties agree and stipulate, and request that the Court find the
24   following:
25                  a. The Defendant pled guilty on November 3, 2014. Ongoing negotiations have
26          been taking place between the Government and the Defendant.
27                  b. Mr. Martinez was referred to UCSF Medical Center on March 24, 2015, for
28          consultation and evaluation pertaining to a serious heart condition. He will require
                                                     1
                         STIPULATION AND [PROPOSED] ORDER TO CONTINUE SENTENCING
                                       CASE NO.: 1:13-CR-00077-LJO
     Case 1:13-cr-00077-LJO-BAM Document 152 Filed 06/03/15 Page 2 of 2
 1          several appointments and his next appointment is August 12, 2015.

 2                 c. The Government does not object to this continuance.

 3   IT IS SO STIPULATED.

 4                                            Respectfully submitted,

 5    DATED:        June 2, 2015        By: /s/ Kimberly A. Sanchez
                                            KIMBERLY A. SANCHEZ
 6                                          United States Attorney
 7

 8

 9    DATED:        June 2, 2015        By: /s/Anthony P. Capozzi
                                            ANTHONY P. CAPOZZI
10                                          Attorney for Defendant ROBERT MURGUIA
                                            MARTINEZ
11

12

13
                                                ORDER
14
            For reasons set forth above, the continuance requested by the parties is granted for
15
     good cause.
16
            IT IS ORDERED that the sentencing currently scheduled for June 15, 2015, at 8:30
17
     a.m. is continued to September 14, 2015, at 8:30 a.m.
18

19

20   IT IS SO ORDERED.

21       Dated:    June 3, 2015                             /s/ Lawrence J. O’Neill
                                                       UNITED STATES DISTRICT JUDGE
22

23

24

25

26

27

28
                                                    2
                        STIPULATION AND [PROPOSED] ORDER TO CONTINUE SENTENCING
                                      CASE NO.: 1:13-CR-00077-LJO
